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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY                              0 8 2005
                            LEXINGTON DIVISION


REPUBLIC SERVICES, INC.                                                      PLAINTIFFS

V.


                                                           CIVIL ACTION NO. 03-494KSF


     PLAINTIFF, REPUBLIC SERVICES, INC.’S MOTION AND MEMORANDUM TO
        COMPEL DISCOVERY FROM DEFENDANTS, THE LIBERTY COMPANIES


LIBERTY MUTUAL INSURANCE
COMPANY, et al.                                                              DEFENDANTS

                           **     **       **         **     **
        Comes the Plaintiff, Republic Services, Inc. (”Republic”)

by and through counsel, and hereby moves this Court, pursuant to

FED. R. CIV. P. 37(a),           and     LR 7 . 1 ,        for    an Order    compelling

production of that portion of the Claims Files (as that term is

defined in the Complaint herein) for claims in California from

Defendants, the Liberty Companies.                    The parties have previously

agreed     and    stipulated      that      because          of    their   disagreement

regarding production of certain Claims Files from California,

they would submit this issue to the Court                            for briefing and

resolution, and this request was part of the subject matter of

the scheduling conference conducted by Magistrate Judge Todd on

February     1, 2005.          [See   DKT # 13             (Joint Report of      Parties

Planning     Meeting,     at    4);    DKT      # 16         (Minutes of      scheduling



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conference) . I        In support of its Motion, Plaintiff, Republic

states as follows:

                                RELEVANT FACTS

         This litigation was filed in the Jessamine Circuit Court on

November 10, 2003, and was removed to this Court by Defendants,

the Liberty Companies on November 12, 2003.               Plaintiff, Republic

served written discovery with the Complaint, seeking production

of   certain claims files for a workers'                compensation program

which the Liberty Companies handled, administered and managed

 for Republic, along with access to a claims management database

known as RISK T M C , and certain other pertinent proprietary

 computer databases of the Liberty Companies, for purposes of

performing a claims file audit and obtaining information to

 support Republic's asserted causes of action in this litigation.

Republic     also moved      for a     restraining order, to         facilitate

production of the claims files by Defendants.

         Following a hearing on the Motion for Restraining Order,

which took place in November, 2003, and with the assistance of

 the Court, the parties negotiated and prepared an Agreed Order

which was entered by the Court on December 10, 2003.                    [See
                                                                         - DKT
 # 5.1      The Agreed Order      (at 2-31 provided that by January 5,

 2004, the Liberty Companies would commence production of the 7 3 9

 claims files at issue ("Claims Files"), and would also respond

 in writing       to   certain of Plaintiff's        discovery     requests by


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January 10, 2004.       ~   See December 10, 2003 Agreed Order at 2-3, 6 -

7.

      The production of the Claims Files commenced on January 5,

2004, and is expected to continue until the late spring of 2005.

At the time production of the Claims Files began, counsel for

the Liberty Companies verbally informed counsel for Republic

that the Claims Files for any claims in California (hereinafter,

 'California    Claims Files") would not be produced, on the basis

that applicable provisions of state law in California preclude

allowing the insured employer (or its agent or designee, which

 in this instance would include Plaintiff's expert auditors, Mr.

Ballard and Mr. .Snoddy) access to an employee's medical records

 in the context of a workers' compensation proceeding.                    During

 the course of the production of Claims Files to the date of this

Motion (a period of approximately thirteen months), the Liberty

 Companies have withheld production of                 all of   the California

 Claims Files on this basis.           It is worth noting that this issue

was not raised by the Liberty Companies during the November 14,

 2003 hearing on the Motion for Restraining Order, or at any

point between entry of the Agreed Order and the commencement of

 the Claims File production in early January, 2004.

       At the time that the Liberty Companies' counsel initially

 indicated     that    the     California     Claims    Files   would    not   be

produced, no specifics were provided concerning the provisions


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of California law claimed to preclude production of these files.

A    subsequent    exchange     of   correspondence      indicates    that    the

parties take very different views of this issue.                   Counsel for

the Liberty Companies has gone so far as to state that "My

client will be happy to provide the California claim files when

I can assure it that it will not violate the California statute

by disclosing [the requested] information.

       Counsel for Republic interpret this statement as akin to a

request for a legal opinion.              No member of Plaintiff's legal

team is admitted to practice in California, and therefore the

assurances or opinion sought by Defendants cannot and will not

be   provided.       In addition, it          is far from clear that          the

 authorities upon which Defendants rely in fact support their

 continued    withholding      these   materials,     in violation of         the

December     10,    2003    Agreed     Order.      Plaintiff,     Republic     is

 therefore constrained to ask the Court to resolve this issue, in

 accordance with its interpretation of the statute(s) at issue.3



       See February 5, 2004 letter from Robert E. Maclin, 111 to J. Clarke
Keller; February 25, 2004 letter from J. Clarke Keller to Robert E. Maclin,
111, true copies of which are attached hereto and made a part hereof as
composite EXHIBIT A.
       See id., Keller letter to Maclin.
       Under the terms of the agreement memorialized in the Agreed Order, this
litigation was stayed for the period from entry of the Agreed Order in
December, 2003 to the time of filing of Republic's Notice of Reactivation
 [DKT # 91 on November 1 2 , 2 0 0 4 . During this period, and with the exception
of the exchange of positions described herein, the parties deferred further
consideration of the California Claims File issue, anticipating that the
Court would ultimately have to resolve the question of whether these files
must be produced by Defendants.


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                                    ARGUMENT

        Relevant Provisions of the California Labor Code and
     Civil Code Permit Production of the California Claims Files

       The provisions of California statutory law upon which the

Liberty Companies apparently rely in declining to produce the

California Claims Files do not                  support their position.          As

alleged     in     the   Complaint,       under   the    Workers'     Compensation

Program, Plaintiff, Republic               had    a   significant     self-insured

retention, under which it was responsible to pay defense and

 indemnification costs up to a specified amount per claim, and an

aggregate amount per year for all claims in that year.                           In

addition      to    serving    as     a     third-party     administrator       for

Republic's self-insured claims during the relevant time period,

 the Liberty Companies also provided excess insurance coverage

 for claims over the specified aggregate amount of Republic's

 self-insured retention.        See Complaint,        18 15-26.4
        In the correspondence attached hereto as part of EXHIBIT A,

 counsel for the Liberty Companies contends that disclosure of

 the California Claims Files, and in particular certain medical

 information       contained   therein,      would      violate     CAL. LAB.   CODE

 §   3762, which provides in pertinent part:

             3762. (a) Except as provided in subdivisions
             (b) and (c), the insurer shall discuss all
             elements of the claim file that affect the

      For each of the first two years of the Workers' Compensation Program,
Republic had a maximum annual aggregate retention.   In the third year, the
aggregate retention was uncapped.


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              employer's          premium with     the     employer, and
             shall supply copies of the documents that
             affect the premium at the employer's expense
              during reasonable business hours.
              ...
               (c) An       insurer, third-party administrator
              retained by a self-insured employer pursuant
              to   Section   3702.1   to  administer   the
              employer's workers' compensation claims, and
              those employees and agents specified by a
              self-insured employer to administer the
              employer's workers' compensation claims, are
              prohibited from disclosing or causing to be
              disclosed to an employer, any medical
              information, as defined in subdivision (b)
              of Section 56.05 of the Civil Code, about an
              employee   who    has   filed    a   workers'
              compensation claim, except as follows:
                      (1) Medical information limited to the
                      diagnosis of the mental or physical
                      condition     for     which     workers '
                      compensation   is   claimed    and   the
                      treatment provided for this condition.
                      (2)  Medical information regarding the
                      injury for which workers' compensation
                      is claimed that is necessary for the
                      employer to have in order for the
                      employer to modify the employee's work
                      duties.

 CAL. LAB. CODE § 3762(a), (c) (emphases added) .5

       As an initial matter, these provisions of                       §   3762 on which

 the    Liberty     Companies        purport     to     rely      in   withholding         the

 California Claims Files do not support their position.                                It is

 clear that both            the    tone and      literal    language of           §   3762(a)

 generally support disclosure of file materials to the employer,

 to    the   extent    that       these   materials       have     a   bearing        on   the

   ' A complete copy of this statutory                provision   is   attached   hereto    as
EXHIBIT 8 , for the Court's convenience.


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employers‘ premium for workers’ compensation coverage.                           While

the situation is, by              definition, slightly different where                a

self-insured retention is involved (because there is no premium

per    se   paid     for    the    retained       amounts),    even     the    Liberty

Companies     cannot       deny that    Republic‘s aggregate             expense and

indemnity payments for each year of the Workers‘ Compensation

Program had a direct bearing on the amounts paid to the Liberty

Companies, both for the handling, administration and management

of those files which did not exceed the amount of Republic’s

 self-insured retention, and as premium payments for the excess

 coverage    above     the    retained    amount       for    those      which    did.6

Therefore, under the language of              §   3762(a), it would appear that

Republic should have access to all documents in each of the

California files tending to have an effect on its premium, and

 administrative costs for the retained amounts.                        Commentary by

California practitioners is in accord with this interpretation.

 See O‘BRIEN, CALIFORNIA WORKERS’ COMPENSATION CLAIMS         AND   BENEFITS( l l t hed.

 2004) at   898,   §   19.4   (noting that this provision of S 3762 a l s o

gives the employer ‘‘a right to copies of most documents in the

 file.”).




      In addition, each time a file was opened, a set fee was paid by
Republic to the Liberty Companies, depending on whether the claim was
reported for record-keeping purposes, or because the injured worker would
require treatment. As a result, the administrative costs paid to the Liberty
Companies were increased for each file opened in each year of the Program.


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       Moreover,     the     language       of     §      3762(c),    the    particular

provision     cited by       the   Liberty       Companies       as   the basis       for

withholding the California Claims Files, does not support the

Defendants' position, for at least three reasons.                           First, the

general prohibition in         §   3762(c) is only against disclosures of
                                                      ~




medical information "as defined in subdivision (b) of Section

 56.05 of the Civil Code," and not against the complete contents
                                        ~




of a workers' compensation file.                 It is therefore clear that the

main portion of         §   3762(c), standing alone, does not                   support

withholding the entirety of each California Claims File from

 Republic's auditors.        Furthermore, there do not appear to be any

 California cases reaching an adverse conclusion.

       Second, even the portions of the California Civil Code

 defining     "medical      information"         as       used   in   §   3762 (c),   and

 controlling its disclosure and use, recognize that disclosures

 of such information may be necessary and appropriate in many

 contexts, including judicial or administrative proceedings.                          The

medical privacy provision of the Civil Code defines "medical

 information" as :

             any individually identifiable information,
             in   electronic    or   physical    form,   in
             possession of or derived from a provider of
             health care, health care service plan,
             pharmaceutical    company,    or    contractor
             regarding   a  patient's    medical   history,
             mental or physical condition, or treatment.




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                                   7
CAL. CIV. CODE § 56.05(g).             The Civil Code further recognizes that

disclosure of such information is necessary and appropriate:

             if the disclosure is compelled by any of the
             following:
                  (1) By a court pursuant to an order of
             that court.
                   (2)    By  a   board,   commission,   or
             administrative    agency   for   purposes   of
             ad] udicat ion  pursuant    to    its   lawful
             authority.
                  (3) By a party to a proceeding before a
             court or administrative agency pursuant to a
             subpoena, subpoena duces tecum, notice to
             appear ..., or any provision authorizing
             discovery in a proceeding before a court or
             administrative agency.
             ... .
                     (9)   When otherwise specifically required
             by law.

 CAL. CIV. CODE       §    56.10(b) . *   The Civil Code further recognizes

 that:

             (c) A provider of health care or a health
             care service plan may disclose medical
             information as follows:
                      (2) The information may be disclosed to
                      an insurer, employer,... or any other
                      person or entity responsible for paying
                      for health care services rendered to
                      the patient, to the extent necessary to
                      allow responsibility for payment to be
                      determined and payment to be made.
                       ( 8 ) A provider of health care or health
                      care service plan that has created
                      medical information as a result of

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       A complete copy of this statutory provision        is   attached   hereto   as
 EXHIBIT C, for the Court's convenience.
       A complete copy of this statutory provision        is   attached   hereto   as
 EXHIBIT D, f o r the Court's convenience.


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                     employment-related health care services
                     to    an   employee conducted     at       the
                     specific prior written request and
                     expense of the employer may d i s c l o s e t o
                     t h e employee‘s employer that part of
                     the information that:
                             (A) I s r e l e v a n t i n a l a w s u i t ,
                            a r b i t r a t i o n , grievance, o r other
                            claim o r challenge t o which the
                            employer             and      the   employee are
                            p a r t i e s and i n which the p a t i e n t
                            has p l a c e d i n i s s u e h i s o r h e r
                            medical              h i st o r y ,  mental   or
                            physical condition, o r treatment,
                            provided that information may only
                            be used or disclosed in connection
                            with that proceeding.
                            (B)   Describes functional limi-
                            tations of the patient that may
                            entitle the patient to leave from
                            work for medical reasons or limit
                            the patient‘s fitness to perform
                            his or her present employment,
                            provided that no statement of
                            medical cause is included in the
                            information disclosed.

 CAL. CIV. CODE § 56.10(c)        (emphases added).         It is thus clear that

 under the cited provisions of the Civil Code, the California

 legislature has contemplated a wide variety of situations under

 which medical information may be disclosed, and further may be

 disclosed      to     an     employer.9           Furthermore,         the    general

  circumstances under which such disclosures are allowed all arise

         In this regard, Plaintiff, Republic recognizes that in addition to the
 numerous instances under the language of the Civil Code in which disclosures
 are not allowed, the California courts have likewise found certain
 disclosures to be improper even in an instance in which the employer (rather
 than the employee) initially requested the treatment, and the employee later
 put his mental condition (and the accompanying records) at issue in a
 judicial proceeding. See Pettus v. Cole, 57 Cal.Rptr.2d 46, 49 Cal.A~p.4~”
 4 0 2 (App. lStDist. 1996) (holding that Mr. Pettus’ employer was not entitled
 to access to psychological evaluations which it had requested).


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 in the course of a workers' compensation claim: disclosure to an

 employer, for purposes of determining whether medical expenses

  (and other costs) are payable, in a proceeding in which the

 employee has placed his physical or mental condition in issue,

 and in which both the employer and employee are parties.                         Such

 disclosure by the Liberty Companies in this proceeding would

 therefore not        be     unprecedented,      and     in    fact    appears   to be

 contemplated, at least in general terms, by the provisions of

 the Civil Code controlling such disclosures.

        Third,    §   3762(c)   of    the Labor Code, by              its own terms,

 recognizes that disclosure of certain medical information about

 an injured worker to his employer by a third-party administrator

 in the context of a workers' compensation proceeding may be both

 necessary and appropriate.              As such, the statute contains two

 explicit exceptions, allowing for disclosure to the employer of

 medical information in order to allow (i) for both diagnosis and

 treatment       of   the     injured    worker's        physical      and/or    mental

 conditions, and (ii) for modification of the worker's job duties

 so that the worker can return to his former position in modified

 duty if necessary.           See    § 3762   (c)(1)-   (2).   There do not appear

 to be any published California decisions limiting the right of

 an employer to receive the medical information in question under

 the    terms    of    the    exceptions,       nor     limiting      the   third-party

 administrator's obligation to provide it.


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                                    CONCLUSION

       At    the     scheduling        conference,   the     Magistrate          Judge

 expressed     curiosity as       to    the   rationale    for the      California

 statutory provisions at            issue in this Motion.           What     little

 legislative history material is available indicates that                    §    3762

 of the Labor Code was enacted as part of a sweeping reform of

 workers' compensation law in California, in order to deter fraud

 and   stimulate     job   growth.        Governor    Pete   Wilson's      signing

 message for this provision and its sisters is, however, devoid

 of any privacy concerns which might preclude production of the

 California Claims Files.10

       There    is   no    doubt,      therefore, based      on   the    foregoing

 authorities, that California law does not provide a basis for

 the Liberty Companies to withhold the complete contents of the

 California Claims Files from review by Republic's auditors in

 the context of this litigation.              Moreover, it appears that there

 is a sufficient basis in the language of the cited statutes for

 the Liberty Companies to disclose much, if not all, of the

 medical records contained therein.               It may be that the Liberty

 Companies are making a distinction based on the fact that the

 files have not been requested in the course or context of a

 workers'      compensation     proceeding,       precluding      Republic        from
    :0
       See signing message accompanying Insurance Code Section 675. a copy of
 which is attached hereto and made a part hereof as EXHIBIT E, for the Court's
 convenience.   The signing message is addressed to the board spectrum of
 reform provisions, which included § 3762.


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 accessing the information, but that conclusion also does not

 seem to be       contemplated by       the   cited statutes.         Plaintiff,

 Republic therefore respectfully requests that the Court enter

 the proposed      Order    tendered herewith, requiring           the   Liberty

 Companies to produce the California Claims Files for the within

 ten (10) days of the entry thereof.


                                      Respectfully submitted,




                                      Robert E. Maclin, 111, Esq.
                                      Brent L. Caldwell, Esq.
                                      David A. Cohen, E s q .
                                      MCBRAYER, MCGINNIS, LESLIE
                                        & KIRKLAND, PLLC
                                      201 East Main Street, Suite 1000
                                      Lexington, Kentucky 40507
                                       (859) 231-8780
                                      ATTORNEYS FOR PLAINTIFF,
                                      REPUBLIC SERVICES, INC.


                CERTIFICATION PURSUANT TO LR 7.2 AND 37.1

       I herby certify that counsel in this action have made a

 good faith effort to resolve this discovery dispute without the

 Court's    assistance prior to the filing of this Motion.                      In
 particular,     counsel     have    directly    discussed,     and    exchanged

 correspondence on, the issues raised, which has narrowed the

 areas of dispute but has not produced a resolution.




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                                             ATTORNEY FOR PLAINTIFF,
                                             REPUBLIC SERVICES, INC.




                                 CERTIFICATE OF SERVICE

        I hereby        certify that          a true and      correct   copy of   the

 foregoing was served by regular, U.S. Mail, on the                     & day     of

 February, 2005 to the following:

 J. Clarke Keller, Esq.
 Gregory P. Parsons, Esq.
 STITES & HARBISON, PLLC
 250 West Main Street, Suite 2300
 Lexington, Kentucky 40507
 ATTORNEYS FOR DEFENDANTS,
 THE LIBERTY COMPANIES


                                             -bA.Jsk\
                                             ATTORNEYS FOR PLAINTIFF,
                                             REPUBLIC SERVICES, INC.

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